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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Fund Recovery Services, LLC.
                                       Plaintiff,
v.                                                     Case No.: 1:20−cv−05730
                                                       Honorable Matthew F. Kennelly
RBC Capital Markets, LLC, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 31, 2022:


       MINUTE entry before the Honorable Matthew F. Kennelly: Video motion hearing
held on 8/31/2022. Oral argument heard regarding the plaintiff's motion for leave to
amend [148]. The motion is taken under advisement. The Court will set a further status
hearing at a later date. Mailed notice. (mma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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